` 3
Case 2'03-cV-027Ol-.]P|\/|-c c Document 314 Fl|ed 05/12/05 Page 1 of 2 Page|D 19

UN| ED STATES DlSTR|CT COUR
wEsTERN DlsTRlc“r oF TENNE§HEEI";-' . z o.c.

ROBERTR.D|TROLIO !,.?c] i,.`r. go pm ,:f_ ?! MEMPHrS (9011495-1200
cLERKoF'couRT --» !<1-' ~-~ f “x ~ ' ~ FAX t901)495-1250
JACKSON (9011 421- 9200

FAX(901)421~9210

  

..","'l
`..

WEerRNDr\/ISION l

 

5/12/2005

RE: MILLER v. DACUS
03-2701 M[/V

Dear Counsel:

lt appears in the above referenced cause that the parties are unable to agree on the
taxation of costs.

Pursuant to Rule 54.] of the Local R.ules for the Westem District of Tennessee, the Clerk
is required to assess costs, after notice and hearing. Accordingly, the Clerk will tax costs on
Fridav Mav 20.2005 @ 9:30 AM. in the Clerk’s office located in Room 242, Clifford Davis
Federal Building, 167 North Main Street, Memphis, Tennessee. You may appear at that time and
make any argument you believe relevant, but you are not required to attend. The Clerk Will
accept the citation of any law the parties think appropriate, but such submissions must be
received no later than one Week prior to the scheduled hearing.

Sincerely,
Robert Di Trolio, Clerk

b’" a//»j¢» @MWL

Depu Clerk

/lc
c: Docket Clerk

242 F`EDERAL EUILD|NG 262 FEDERAL BLJ||_D|NG
167 N. MA|N STREET 111 S. HIGHI_AND
MEMPH|S, TENNESSEE 38103 JACKSON, TENNESSEE 38301

31L/

   

UNDITE sTAETs DISRTIC COURT - WESTNER ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 314 in
case 2:03-CV-02701 Was distributed by faX, mail, or direct printing on
May 12, 2005 to the parties listed.

 

 

William B. Raiford
l\/[ERKEL & COCKE
P.O. Box 1388
Clarksdale, MS 38614

Timothy R. Holton

DEAL COOPER & HOLTON PLLC
296 Washington Avenue

l\/lemphis7 TN 38103

C. J. Gideon

GIDEON & WISEMAN
200 Fourth Ave.7 N.

l 100 Noel Place
Nashville, TN 372 l 9

Dixie W. Cooper
GIDEON & WISEMAN
200 Fourth Ave.7 N.

l 100 Noel Place
Nashville, TN 372 l 9

Honorable .l on McCalla
US DISTRICT COURT

